UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


PETER D. SCHIFF, AND EURO PACIFIC
CAPITAL INC., et. al.
                          Plaintiffs,
                                          15 Civ. 00359 (VSB) (KNF)
                vs.
YAYI INTERNATIONAL INC.,
                          Defendant.




                PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF
                             INQUEST FOR DAMAGES




                                        ANDERSON KILL P.C.

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                                        Christopher L. Ayers, Esq.
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                                        Attorneys for Plaintiffs




nydocs1-1068948.2
                                               TABLE OF CONTENTS

                                                                                                                               Page

PRELIMINARY STATEMENT ......................................................................................... 4

FACTUAL BACKGROUND ............................................................................................. 5

DAMAGES            ................................................................................................................... 7

         A.        The Notes .................................................................................................. 7

         B.        Business Losses and Reputational Harm .................................................. 8

         C.        Attorney’s Fees and Costs......................................................................... 9

LEGAL ARGUMENT ....................................................................................................... 9

         A.        Investors’ Damages on the Notes............................................................ 10

         B.        Euro Pacific’s Damages - Business Losses and
                   Reputational Harm................................................................................... 11

         C.        Attorney’s Fees and Costs....................................................................... 13

CONCLUSION .............................................................................................................. 14




                                                                  i

nydocs1-1068948.2
                                            TABLE OF AUTHORITIES

                                                                                                                     Page(s)
CASES

Agbaje v. Bah,
  09 Civ. 6201, 2010 U.S. Dist. LEXIS 142529 (S.D.N.Y. Dec. 23, 2010) .................. 10

Dun & Bradstreet v. Greenmoss Builders,
  472 U.S. 749 (1985)................................................................................................. 12

Eternity Global Master Fund Ltd. v. Morgan Guar. Trust Co.,
   375 F.3d 168 (2d Cir. 2004)....................................................................................... 9

Gulf Coast Bank & Tr. Co. v. ASESD, LLC,
   No. 11-CV-5023 (RMB) (RLE), 2014 U.S. Dist. LEXIS 168327 (S.D.N.Y. Aug.
   29, 2014).................................................................................................................. 11

Kempf v. Mitsui Plastics,
  96 Civ. 1106, 1996 U.S. Dist. LEXIS 17240 (S.D.N.Y. Nov. 18, 1996) .................... 10

N.Y. Water Serv. Corp. v New York,
   163 N.Y.S. 2d 538 (App. Div. 1957)......................................................................... 12

Reads Co., LLC v. Katz,
  900 N.Y.S.2d 131 (2010 App. Div.).......................................................................... 12

Seidman v Indus. Recycling Props., Inc.,
   967 N.Y.S. 2d 77 (App. Div. 2013)........................................................................... 10

V.S. Int'l, S.A. v. Boyden World Corp.,
   No. 90 Civ. 4091 (PKL), 1993 U.S. Dist. LEXIS 2586 (S.D.N.Y. Mar. 4, 1993)........ 13

OTHER AUTHORITIES

36 NY Jur Damages § 46 (2nd 2014)............................................................................ 10

72 NY Jur Interest and Usury § 9 (2nd 2014)................................................................ 10




                                                               ii
nydocs1-1068948.2
               Plaintiff Euro Pacific Capital Inc., (“Euro Pacific”) individually, and in its

capacity as Investor Representative and attorney-in-fact for Barbara Sue Wilson and

David D. Wilson as trustees for the Barbara Sue Wilson Trust U/A 8/23/94; Douglas W.

Johnson as trustee for the Douglas William Johnson Revocable Trust U/A 6/25/10;

Heidi W. Keine and Kevin Keine; Janet D. Russell as trustee for the Janet Dickinson

Russell Living Trust is a Trust U/A 1/20/10; NFS/FMTC Rollover IRA FBO Jerry R.

Speaks; NFS/FMTC Rollover IRA FBO Robert M. Weissberg; Point Aux Chenes LLC;

Bruce Walker Ravenel; POM Investments; Jeff Archibald; Norman E. Apperson and

Pamela Mceachern as trustees for the Norman E. Apperson and Pamela Mceachern

Trust, U/A 7/22/96; The Drew & Raskin Profit Sharing Plan FBO Stephen Raskin;

Carlos A. Merino as trustee for the Carlos Alfonso Merino Revocable Living Trust U/A

12/4/96; Barbara J. Peterson as trustee for the Barbara J. Peterson Revocable Trust

U/A 2/4/00; Carolyn R. Long; Corey Shannon McNamee; Eva Marie Salas as trustee for

Eva M. Salas Trust; Jimmie C. West and Carolyn E. West; Joseph McCarthey and Miki

McCarthy; Mark Dugger as administrator for The Allstates Drywall Inc. EE S T; Michael

J. Hanratty and Lynsay F. Hanratty; Mitchell Martin and Deborah Martin; NFS/FMTC

Roth IRA FBO Virginia C. Adams; NFS/FMTC SEP FBO Carter Laren; NFS/FMTC SEP

FBO Gerald Mona; Oleksandr Tumko and Oksana Tumko; Thomas L. Ingram and

Carissa Ingram as trustees for the Ingram Living Trust U/A 11/2/05; Timothy Crane as

trustee for the Timothy R. Crane Trust; William Bradley as administrator for the Bradley

Anesthesiology Profit Sharing Plan; Art Kleppen and Kimberly Kleppen; Brent Paulger

and Sharissa Paulger; Kevin Moore; NFS/FMTC IRA FBO Robert Stephen Adams;

NFS/FMTC SEP IRA FBO Gerald E. Manwill; Steve Hoke and Collen Hoke as trustees




nydocs1-1068948.2
for the Hoke Living Trust U/A 4/19/02; Arnold William Goldschlager and Nora

Goldschlager as trustees for the Goldschlager Family Trust U/A 6/24/04; Uzzi Reiss and

Yael Reiss as trustees for the Reiss Family Trust U/A 12/29/88; John A. Rupp as

trustee the John A. Rupp Trust U/A 3/9/07; Laura Smith and Forrest Smith as trustees

for the Connelly Johnson Smith Family Trust U/A 4/2/09; Marc A. Pierre as

administrator for the Center For Physical Health 401K Profit Sharing Plan; NFS/FMTC

Rollover IRA FBO Lynn Rollins Stull; NFS/FMTC Rollover IRA FBO Ronald Allen

McCann; NFS/FMTC Roth IRA FBO Helen Erskine; Prasad Realty Corp.; William A.

Karges Jr. as trustee for the Karges Revocable Intervivos Trust U/A 4/29/85; David W.

Larson and Jennifer L. Larson; John D. Smead; Mark Edward Smead as trustee for the

Mark E. Smead Revocable Living Trust U/A 11/17/95; NFS/FMTC Rollover IRA FBO

Bertrand Brooks Carder; NFS/FMTC Rollover IRA FBO Edwin Bruno Kaehler; Richard

Griff and Jackie Griff; Barbara Seidel as trustee for the Barbara Gallun Seidel Residual

Trust U/A 2/9/60; Bert Huntsinger; Christianna Seidel as trustee for the Christianna

Seidel Property Trust U/A 11/5/99 FBO Christianna Seidel; David Brisbin as trustee for

the Innes Brisbin Living Trust U/A 6/8/04; George Feldman; Gilbert Dominguez as

trustee for the Dominguez Trust U/A 3/3/05; Hement Kathuri as administrator for the

H. Kathuria Investments II P Plan; Jim Robert Pugh; Kenntih H. Nass and Maureen

Nass as trustees for the Kenneth H. & Maureen K. Nass Chari Trust U/A 6/7/05; KK

Swogger Asset Management; Maureen K. Nass and Kenneth H. Nass as trustees for

the Maureen K. Nass Living Trust U/A 5/16/05; NFS/FMTC IRA FBO Diane D. Spolum;

NFS/FMTC Rollover IRA FBO of Andres Keichian; NFS/FMTC Rollover IRA FBO Ralph

Dale Edson; Robert T. Foss and Margaret Foss as trustees for the Robert T & Margaret



                                            2
nydocs1-1068948.2
Foss Revocable Trust U/A 3/31/04; Shelby Jordan and Becky Jordan; Trisha L. Freres

and Theodore Kyle Freres as trustees for the Trisha L. Freres Living Trust U/A 3/31/04;

Walter Friesen; William J. Cyr; William Ten Brink as trustee for the Ten Brink Trust U/A

10/2/86; William Wiley and Marianne Wiley as trustees for the Wiley Family Living Trust

U/A 7/19/95; Buckthorn LLC; Marc Bienstock and Jenny I. Bienstock; Mark Sterin;

Nancy L. Benson as trustee for the Nancy L. Benson Living Trust U/A 11/11/02;

NFS/FMTC Rollover IRA FBO James A. Tamborello; NFS/FMTC Rollover IRA FBO

Richard Davis Moore; Skee Goedhart as trustee for the Paracelsus Revocable Trust

U/A 7/25/97; Susan C. Cullen; Gayle M. Sanders and Deborah Sanders as trustees for

the Gayle M. Sanders Family Trust Revocable Trust U/A 8/15/02; Marc W. Levin and

Susan G. Levin; NFS/FMTC Rollover IRA FBO Donald T. Glaser Jr.; David Alan Scully;

Jerry F. McWilliams; Michael Scully; NFS/FMTC Rollover IRA FBO Todd Howard

Overgard; David Arita; Deborah Foreman as trustee for the Deborah D. Foreman Trust

U/A 9/29/94; HCR Investments Inc.; Lynn Havlik; Barbara S. Meister as trustee for the

Meister Non-Exempt Marital Trust U/A 11/17/83; Brian S. Behan; Cynthia Kessler and

James Kessler; NFS/FMTC IRA FBO Howard W. Wahl; Norman S. Kramer and Linda L.

Kramer; Quincy Murphy Inc.; Robert L. Bishop; Scott Davies and Misty Davies as

trustees for the Scott & Misty Davies Living Trust U/A 6/28/07; Barbara Hearst; Cindy J.

Lewis as trustee for the Cindy J. Lewis Declaration of Trust U/A 3/11/93; Jack Abrams

and Margo Abrams as trustees for the Jack Abrams Pension Plan 1; Jim Griffin as

custodian for the Michelle E. Griffin UTMA Oh; Jim Griffin as custodian for the Daniel J.

Griffin UTMA Oh; Julia L. Griffin; NFS/FMTC IRA FBO Leonard Siegel; NFS/FMTC IRA

FBO Royce V. Jackson; Peter D. Schiff; R. Steven Smith; Richard Potapchuk; Scott R.



                                            3
nydocs1-1068948.2
Griffin; Amy J. Stefanik as trustee for the Amy J. Stefanik Revocable Trust U/A 2/6/01;

Andrew P. Cook and Susan R. Cook; Charlotte J. Belasco; Jean A. Davids-Osterhaus

as trustee for the Jean A. Davids-Osterhaus Revocable Trust U/A 10/3/07; Larry

Guagliardo; Mark A. Osterhaus as trustee for the Mark Osterhaus Revocable Trust U/A

10/31/07; Richard P. Anthony III and Kimberly J. Anthony; Steven Jay Epstein (referred

to as collectively as the “Investors”), by and through their attorneys, Anderson Kill P.C.,

respectfully submit this Memorandum of Law in Support of Plaintiffs’ Inquest for

Damages pursuant to this Court’s Order dated June 14, 2016 (Doc. 38).

                                PRELIMINARY STATEMENT

               Plaintiffs submit this Inquest Memorandum after obtaining a default

judgment against Defendant. After agreeing to borrow money from the Investors, Yayi

has “gone dark,” turnings its back on its U.S. investors, and willfully refused to

participate in, let alone recognize, the instant litigation.

               Yayi, a Delaware corporation with operations in China, willfully refused to

comply with the terms of promissory notes and has failed to provide basic financial

information to the Securities and Exchange Commission (“SEC”) and the Investors.

This case is about more than a company’s failure to produce books and records.

Rather, it is about a growing and disturbing trend among Chinese companies with

publicly filed audited financial reports that suddenly “go dark,” de-list (depressing the

stock’s market value) and thereafter refused to acknowledge the basic rights of its U.S.-

based investors. Yayi fits squarely into this trend.

               Despite proper service, Yayi refused to participate in this litigation. Yayi

has turned its back on its U.S. investors, and its actions threaten to leave the Plaintiffs



                                                4
nydocs1-1068948.2
with no reasonable means of recouping their investment. Yayi has likewise turned its

back on this State by its refusal to recognize the judicial process.

                Under these circumstances, the Plaintiffs respectfully request that this

Court order all damages respectfully detailed and requested herein. Specifically,

Plaintiffs have requested damages based on the principal and interest on the Notes (as

defined below), business losses and reputational damages, and attorneys’ fees and

costs.

                                   FACTUAL BACKGROUND

                Defendant Yayi International Inc. (“Yayi” or “Defendant”) is incorporated

under the laws of the state of Delaware with its principal business operations in the

People’s Republic of China. See Affidavit of Peter Chema dated July 8, 2016 (“Chema

Aff.”) ¶ 3. Plaintiff Euro Pacific Capital Inc. is an investment company incorporated

under the laws of the state of California, with its principal place of business in Westport,

Connecticut. Id. ¶ 4. Euro Pacific is the Investor Representative and attorney in fact for

the Investors, and authorized to act on their behalf. Id. ¶ 12.

                On or about September 27, 2010, the Investors and Yayi entered into

promissory notes (the “Notes”) whereby Yayi promised to pay Investors a total of

$8,920,000 (the “Principal”) at nine percent (9%) interest per annum. 1 Id. ¶ 5, Ex. A.

Pursuant to the Notes, “the principal amount hereof and all accrued but unpaid interest


1
         This debt is convertible to an equity stake in Yayi’s company pursuant to Section 5 of the
         Note, which states “[e]ach holder of the Note shall have the right, exercisable at any time
         prior to the Maturity Date, to convert all, but not less than all, of the principal amount
         then outstanding into shares of [Yayi] Company’s common stock, par value $0.001 per
         share [] at a conversion price [] equal to $2.00 per share [].” To date the Investors have
         not converted the debt to equity pursuant to the Note.



                                                  5
nydocs1-1068948.2
shall be paid in full to the Holder on the three (3) year anniversary of the date of closing

of the Minimum Amount” (hereinafter the “Maturity Date”). Id. ¶ 6. Simultaneously and

in conjunction with the Note, on or about September 27, 2010, the parties entered into a

Securities Purchase Agreement (“SPA”). Id. ¶ 7, Ex. B. The “Minimum Amount” as

cited in the Notes was tendered upon the execution of the SPA. As such, pursuant to

the aforementioned agreements, the Maturity Date for the Note was September 27,

2013. Id. ¶ 8.

               Moreover, the pertinent language of Section 3 states “[t]he Interest [] shall

accrue on the outstanding principal amount of this Note from the date hereof until such

principal amount is repaid in full at the rate of nine percent (9%) per annum, payable

semiannually in arrears on the first and third calendar quarters (i.e., March 31 and

September 30) commencing March 31, 2011.” Id. ¶ 9. Section 12 of the Notes also

states that “[t]he Company agrees that, in the Event of Default, to reimburse the Holder

for all reasonable costs and expenses (including reasonable legal fees of one counsel)

incurred in connection with the enforcement and collection of this Note.” Id. ¶ 10.

               Defendant defaulted on the Notes as it ceased making interest payments

after September 30, 2012—more than a year before the Maturity Date — and

subsequently failed to tender any of the principal amount of the monies due and owing

under the Notes. Thus, Defendant is required to pay Plaintiff the monies due and owing

under the Notes with interest at a rate of 9% per annum thereon. Id. ¶ 11.

               Under the SPA, Euro Pacific is the “Investor Representative” and

“Placement Agent” of all Shareholders and is their lawful agent and attorney-in-fact to




                                              6
nydocs1-1068948.2
act on their behalf. Id. ¶ 12. Section 4.2 of the SPA contains salient provisions

pertaining to Yayi’s obligation to report, including the following:

               4.2. Furnishing of Information. As long as any Investor or
               any transferee owns any Securities, the Company covenants
               to timely file (or obtain extensions in respect thereof and file
               within the applicable grace period) all reports required to be
               filed by the Company after the date hereof pursuant to the
               Exchange Act.

Id. ¶ 13. Subsequent to the execution of the SPA, Yayi ceased filing with the SEC.

Most notably, Yayi’s last document filed was on August 15, 2012, a NT 10-Q notification

of its inability to timely file its 10-Q. Id. ¶ 14.

               As a result of Yayi “going dark,” the Investors have been unable to recoup

the monies due and owing on the Note. Thus, Plaintiffs were forced to commence this

action, incurring substantial attorneys’ fees and costs. Section 6.9 of the SPA, provides

in relevant part, that:

               If either party shall commence a Proceeding to enforce any
               provisions of a Transaction Document, then the prevailing
               party in such Proceeding shall be reimbursed by the other
               party for its reasonable attorneys’ fees and other costs and
               expenses incurred with the investigation, preparation and
               prosecution of such Proceeding.

Id. ¶ 15. Thus, Plaintiffs are entitled to reasonable attorneys’ fees and all costs and

expenses incurred with the investigation, preparation, and prosecution of their claims.

                                            DAMAGES

       A.      The Notes

               As set forth in Affidavit of Peter Chema, Yayi promised to pay Investors a

total of $8,920,000 (the “Principal”) at nine percent (9%) interest per annum. Id. ¶ 5.

The pertinent language of Section 3 states “[t]he Interest [] shall accrue on the

outstanding principal amount of this Note from the date hereof until such principal

                                                  7
nydocs1-1068948.2
amount is repaid in full at the rate of nine percent (9%) per annum, payable

semiannually in arrears on the first and third calendar quarters (i.e., March 31 and

September 30) commencing March 31, 2011.” The interest on the outstanding Notes

calculated from the date of the Notes, when interest commenced, through February 19,

2016 is $4,337,319.45. Defendant has failed to pay Investors the monies owed

pursuant to the Notes. Accordingly, the Plaintiffs are damaged in the amount of

$13,257,319.45 inclusive of interest for breach of the Notes through February 19, 2016.

This amount puts the aggrieved Investors in the same position had Yayi complied with

its payment obligations.

       B.      Business Losses and Reputational Harm

               In its capacity as Placement Agent, Plaintiff Euro Pacific is an intended

third party beneficiary to the Notes and SPA. Specifically, Section 6.8 of the SPA states

in relevant part “the Investor Representative [(Euro Pacific)] … is an intended third party

beneficiary of this Agreement and have all of the rights of an “Investor” under this

Agreement.” Id. ¶ 16. As a result of Defendant’s breach the Notes by failing to pay the

monies owed under the terms of the Notes, Plaintiff Euro Pacific suffered damages as it

incurred business losses and reputational harm resulting in further lost profits. Id. ¶ 17.

               As set forth in Affidavit of Peter Chema in Support of the Inquest, Euro

Pacific suffered damages in the amount of $53,014.88 for business losses; and, based

upon established precedent, Euro Pacific is entitled to $1,000,000 for reputational harm

and lost profits, plus pre-judgment interest thereon in the amount of $103,859.00

calculated at the statutory rate of nine percent (9%) from the commencement of this

action on January 16, 2015 through February 19, 2016. Id. ¶¶ 24-25.



                                             8
nydocs1-1068948.2
       C.      Attorney’s Fees and Costs

               Section 12 of the Notes also states that “[t]he Company agrees that, in the

Event of Default, to reimburse the Holder for all reasonable costs and expenses

(including reasonable legal fees of one counsel) incurred in connection with the

enforcement and collection of this Note.” Id. ¶ 10. Similarly, Section 6.9 of the SPA

also calls for the reimbursement of reasonable attorneys’ fees and other costs and

expenses incurred. Id. ¶ 5.

               As a result of the successful prosecution of Defendant’s breach of the

Notes and its pursuit to recover funds invested in Yayi, Plaintiffs incurred attorneys’ fees

and costs. See Affirmation of Christopher Ayers dated July 8, 2016 (“Ayers Aff.”) ¶ 4.

The attorney’s fees and costs requested herein were incurred for services rendered by

Anderson Kill P.C. Id. ¶ 5. Previously, in the submission for default, the attorney’s fees

incurred are $42,692.50 and the costs incurred are $2,170.80 from engagement of

Anderson Kill P.C. through February 19, 2016. Id. ¶ 6. Since the filing of default

Plaintiffs have occurred additional attorneys’ fees in the amount of $18,506.50 and

costs in the amount of $1,635. Id. ¶ 7. The total fees and costs to date is $65,937.02.

Id. ¶ 8. The billing rates for the attorneys, law clerks, and paralegals working on the

instant litigation ranged from $150 per hour for a paralegal to $715 per hour for a

partner. Id. ¶ 9.

                                   LEGAL ARGUMENT

               The Court of Appeals for the Second Circuit has held that to plead a viable

breach of contract claim, a “complaint need only allege (1) the existence of an

agreement, (2) adequate performance of the contract by the plaintiff, (3) breach of

contract by the defendant, and (4) damages.” Eternity Global Master Fund Ltd. v.

                                             9
nydocs1-1068948.2
Morgan Guar. Trust Co., 375 F.3d 168, 177 (2d Cir. 2004). It is not necessary to state

each element individually because of the notice pleading standard embodied in Fed. R.

Civ. P. 8. Kempf v. Mitsui Plastics, 96 Civ. 1106, 1996 U.S. Dist. LEXIS 17240

(S.D.N.Y. Nov. 18, 1996)

       A.      Investors’ Damages on the Notes

                “Damages are intended to return the parties to the point at which the

breach arose and to place the nonbreaching party in as good a position as it would have

been had the contract been performed.” Seidman v Indus. Recycling Props., Inc., 967

N.Y.S. 2d 77, 78 (App. Div. 2013); see also Agbaje v. Bah, 09 Civ. 6201, 2010 U.S.

Dist. LEXIS 142529, at *8 (S.D.N.Y. Dec. 23, 2010). Specifically, “the measure of

damages for the breach of a contract to pay money at a stipulated time is, in the

absence of any special circumstances in the contemplation of the parties at the time of

the execution of the contract, legal interest as damages for the temporary loss of the

use of his or her money.” 36 NY Jur Damages § 46 (2nd 2014). Furthermore, “persons

who occupy or intend to assume the relation of debtor and creditor may contract for the

payment of interest within the limits allowed by statute, and such a contract is controlling

because interest expressly reserved in a contract is recoverable as of right.” 72 NY Jur

Interest and Usury § 9 (2nd 2014).

               On or about September 27, 2010, the Investors and Yayi entered into The

Notes whereby Yayi promised to pay Investors the Principal plus interest at nine percent

(9%) per annum. Simultaneously and in conjunction with the Notes, the parties entered

into the SPA. Plaintiffs performed by providing the monies to Yayi. On the other hand,

pursuant to the Notes, Yayi was to repay the Investors the principal plus interest by the

Maturity Date of September 27, 2013. However, Yayi ceased making payments as after

                                            10
nydocs1-1068948.2
September 30, 2012. Therefore, Yayi is in material breach. Similarly, pursuant to

Section 4.2 of the SPA, Yayi was required to make all required filings with the SEC as

long as the Notes were still outstanding. However, Subsequent to the execution of the

SPA, Yayi ceased filing with the SEC, last filing occurred on August 15, 2012. This

constitutes a further material breach by Yayi.

               Due to Yayi’s breach the Investors are entitled to the Principal amount

plus all unpaid interest. “Damages for breach of contract are determined by calculating

the amount necessary to put the plaintiff in the same economic position he would have

been in had the defendant fulfilled his contract. Additionally, under New York law,

where the breach of contract is a failure to pay money, the plaintiff is entitled to recover

the unpaid amount due under the contract plus interest.” Gulf Coast Bank & Tr. Co. v.

ASESD, LLC, No. 11-CV-5023 (RMB) (RLE), 2014 U.S. Dist. LEXIS 168327, at *10

(S.D.N.Y. Aug. 29, 2014) (internal citations omitted) (based on the submissions by

plaintiff, the Court recommended damages on the loan for breach of contract as well as

interest).

               Here Investors are owed the Principal amount of $8,920,000 together with

interest through February 19, 2016 in the amount of $4,337,319.45, for monies due and

owed under the Notes, plus interest at the contract rate of 9% per annum.

       B.      Euro Pacific’s Damages - Business Losses and Reputational
               Harm

               An injured party is entitled to recover special damages which arise from

peculiar circumstances of a particular case, including the loss of profits as long as the

damages can be fairly said to have been within the contemplation of the parties when




                                             11
nydocs1-1068948.2
the contract was made. See Reads Co., LLC v. Katz, 900 N.Y.S.2d 131 (2010 App.

Div.).

               Euro Pacific has built its goodwill upon, among other things, its customer

base, client relations, reputation for solid investment strategy along with the reputation

of Peter Schiff within the media and finance industry. See Chema. Aff. ¶ 19. Mr. Schiff

is Euro Pacific’s CEO and Chief Global Strategist, as well as its public figurehead. Id.

¶ 20. Euro Pacific’s and Peter Schiff’s goodwill and concomitant reputation have been

detrimentally affected and tarnished by the breach of the SPA. Id. This is particularly

salient for this matter concerning international investments, as it is closely tied to Euro

Pacific and Mr. Schiff’s recognized expertise, sophistication and status in the finance

industry. Id. ¶ 21. Moreover, intangible assets such as brand name, intellectual capital,

unique market position and established networks comprise exceptionally important

assets to Euro Pacific. Id. ¶ 22. The goodwill and reputation of broker-dealers and

investment professionals are intrinsically valuable, especially in Euro Pacific’s case

when it comes to international investments. Id. ¶ 23.

               In order to make Euro Pacific whole, the court must look to the unique

nature of the contract. See N.Y. Water Serv. Corp. v New York, 163 N.Y.S. 2d 538

(App. Div. 1957). Under the circumstances detailed above courts allow businesses to

recover for damages to their reputation and lost profits. Dun & Bradstreet v.

Greenmoss Builders, 472 U.S. 749, 760-761 (1985) (discussing damages suffered by

businesses due to reputational harm). In fact, in the same exact conditions as this the

case at hand, a New York court granted reputational damages to Euro Pacific. See

Ayers Aff. Ex. B, Peter Schiff v. China Nutrifruit Group Ltd., Judgment of January 21,



                                             12
nydocs1-1068948.2
2015 (awarding $1 million in reputational damages to a Euro Pacific as a third party

beneficiary broker deal for the breach of a securities purchase agreement).

               As shown in the Affidavit of Peter Chema, Euro Pacific and Peter Schiff

have a sterling reputation within the investment community. This reputation attracts

like-minded people who believe the fundamentals of certain sectors, such as foreign

investments. These are loyal investors that wait years with down portfolios for bubbles

to burst. However, when Yayi defaulted on the Notes, Euro Pacific suffered damage to

this reputation.

               Furthermore, as a result of the Defendant’s breach of the Notes, Euro

Pacific is entitled to damages in the amount $1,000,000 for reputational harm (See

Peter Schiff v. China Nutrifruit Group Ltd., Judgment of January 21, 2015), plus pre-

judgment interest thereon in the amount of $103,859.00 calculated at the statutory rate

of nine percent (9%) from the commencement of this action on January 16, 2015

through February 19, 2016.

       C.      Attorney’s Fees and Costs

               The Supreme Court has recognized three specific exceptions that have

also been applied in cases interpreting New York law: "(1) when a statute or

enforceable contract provides for attorneys' fees; (2) where the prevailing party confers

a common benefit upon a class or fund, and (3) when a losing party willfully disobeys a

court order or has 'acted in bad faith, vexatiously, wantonly, or for oppressive reasons.'"

V.S. Int'l, S.A. v. Boyden World Corp., No. 90 Civ. 4091 (PKL), 1993 U.S. Dist. LEXIS

2586 at *40, (S.D.N.Y. Mar. 4, 1993) (quoting Alyeska Pipeline Serv. Co. v. Wilderness

Soc'y, 421 U.S. 240, 257-59 (1975)). Both Section 12 of the Notes and Section 6.9 of

the SPA call for the reimbursement of reasonable attorneys’ fees and other costs and

                                            13
nydocs1-1068948.2
expenses incurred for Yayi’s default. Thus, Plaintiffs are entitled to attorneys’ fees and

costs pursuant to these contract provisions as an exception to the American rule.

               As a result of the successful prosecution of Defendant’s breach of the

Notes and its pursuit to recover funds invested in Yayi, Plaintiffs incurred attorneys’ fees

and costs. The attorney’s fees and costs requested herein were incurred for services

rendered by Anderson Kill P.C. The total fees and costs to date is $65,937.02.

                                      CONCLUSION

               Wherefore, Plaintiffs respectfully request the Court enter an order for

damages in the amount of $13,257,319.45 on the principal and interest on the Notes,

plus $1,156,873.88 for reputational damages and $65,937.02 for attorneys’ fees and

costs.




Dated: July 8, 2016                               Respectfully submitted,
       New York, New York
                                                  ANDERSON KILL P.C.



                                                  /s/ David Graff
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                                                  Christopher Ayers, Esq.
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                                             14
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